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         for The Dugaboy Investment Trust
 Counselfor




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 In re                         §
                               §                             Case No. 23-31039-mvl7
                                                                      23-31039-mv17
 HIGHLAND SELECT EQUITY MASTER §
 FUND, L.P.                    §                             (Chapter 7)
                               §
      Debtor.                  §


DECLARATION OF DEBORAH DEITSCH-PEREZ IN SUPPORT OF CREDITOR THE
  DUGABOY INVESTMENT TRUST’S
                     TRUST'S OBJECTION TO DEBTOR'S
                                           DEBTOR’S MOTION TO
                   TRANSFER/REASSIGN CASE

         Deborah Deitsch-Perez, pursuant to 28 U.S.C. § 1746(a), under penalty of perjury,

declares as follows:

         1.     I am a member of the law firm of Stinson LLP, counsel to Defendant The Dugaboy

Investment Trust, and I submit this Declaration in support of Creditor Dugaboy Investment Trust’s
                                                                                          Trust's

Objection to Debtor's
             Debtor’s Motion to Transfer/Reassign Case ("Appendix"),
                                                       (“Appendix”), which is being filed

concurrently with this Declaration. I submit this Declaration based on my personal knowledge

and the documents listed below.

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       2.     Attached as Exhibit 1 to the Appendix is a true and correct copy of James Dondero,

Highland Capital Management
                 Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy

Investment Trust, The Get Good Trust, and NexPoint Real Estate Partners, LLC,
                                                                         LLC, f/k/a
                                                                               f/k/a HCRE

Partners, LLC, a Delaware Limited Liability Company’s
                                            Company's Motion to Recuse Pursuant to 28, U.S.C.

§ 455, Dkt. 2060 in Case No. 19-34054-sgj11, dated March 18, 2021.
§

       3.     Attached as Exhibit 2 to the Appendix is a true and correct copy of James Dondero,

Highland Capital Management
                 Management Fund Advisors, L.P., NexPoint Advisors, L.P., The Dugaboy

Investment Trust, Get Good Trust, and NexPoint Real Estate Partners, LLC, f/k/a
                                                                           f/k/a HCRE Partners,

                                  Company’s Amended
LLC, a Delaware Limited Liability Company's Amended Motion
                                                    Motion for
                                                            for Final Appealable Order and

Supplement to Motion
              Motion to Recuse Pursuant to 28 U.S.C. §455 and Brief
                                                              Brief in Support, Dkt. 3470 in

Case No. 19-34054-sgj11, dated August 26, 2022.

       4.     Attached as Exhibit 3 to the Appendix is a true and correct copy of Amended

        Motion to Recuse Pursuant to 28 U.S.C. §455, Dkt. 3570 in Case No. 19-34054-sgj11,
Renewed Motion

dated October 17, 2022.

       5.     Attached as Exhibit 4 to the Appendix is a true and correct copy of Movants'
                                                                                  Movants’

             Memorandum of
Supplemental Memorandum of Law in Support of
                                          of Amended
                                             Amended Renewed
                                                     Renewed Motion
                                                             Motion to Recuse Pursuant

to 28 U.S.C. §455, Dkt. 3673 in Case No. 19-34054-sgj11, dated March 2, 2023.

       6.     Attached as Exhibit 5 to the Appendix is a true and correct copy of the Opinion

Letter of Professor Steve Leben dated July 6, 2023.

       7.     Attached as Exhibit 6 to the Appendix is a true and correct copy of Order

Authorizing the Filing of
                       of a Lawsuit by Dugaboy Investment Trust in New York, Dkt. 3373 in Case

No. 19-34054-sgj11, dated June 22, 2022.



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       8.     Attached as Exhibit 7 to the Appendix is a true and correct copy of the PACER

Docket for Case No. 1:23-cv-01636-MKV as of the date of this filing.

       9.     Attached as Exhibit 8 to the Appendix is a true and correct copy of Suggestion of
                                                                                             of

Bankruptcy, Dkt. 16 in Case No. 1:23-cv-01636-MKV, dated June 5, 2023.

       10.    Attached as Exhibit 9 to the Appendix is a true and correct copy of the January 9,

2020 Hearing Transcript (excerpted) in Case No. 19-34054-sgj11.

       11.    Attached as Exhibit 10 to the Appendix is a true and correct copy of PACER

confirmation of Judge assigned to the Acis Bankruptcy (Case No. 18-30265-SGJ-11).

       12.    Attached as Exhibit 11 to the Appendix is a true and correct copy of Bench Ruling

    Memorandum of
and Memorandum of Law in Support of: (A) Final Approval of
                                                        of Disclosure Statement; and
                                                                                 and (B)

Confirmation of
             of Chapter 11 Trustee’s
                           Trustee's Third Amended Joint Plan, Dkt. 827 in Case No. 18-30265-

SGJ-11, dated January 31, 2019.

       13.    Attached as Exhibit 12 to the Appendix is a true and correct copy of Order Denying

Motion to Recuse, Pursuant to 28 U.S.C. §455, Dkt. 2083 in Case No. 19-34054-sgj11, dated
Motion

March 23, 2021.

       14.    Attached as Exhibit 13 to the Appendix is a true and correct copy of Order Denying

        Motion of
Amended Motion of James Dondero, Highland Capital Management
                                                  Management Fund Advisors, L.P.,

NexPoint Advisors, L.P., The Dugaboy Investment Trust, Get Good Trust, and NexPoint Real

                       f/k/a HCRE Partners, LLC, a Delaware Limited Liability Company’s
Estate Partners, LLC, f/k/a                                                              for
                                                                              Company's for

Final Appealable Order and Supplement to Motion
                                         Motion to Recuse Pursuant to 28 U.S.C. §455 and

Brief in Support, Dkt. 3479 in Case No. 19-34054-sgj11, dated September 1, 2022.
Brief




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       15.     Attached as Exhibit 14 to the Appendix is a true and correct copy of Movants'
                                                                                    Movants’

        Memorandum of
Amended Memorandum of Law in Support of
                                     of Amended Renew
                                                Renewed Motion to Recuse Pursuant to 28
                                                      edMotion

U.S.C. §455, Dkt. 3571 in Case No. 19-34054-sgj11, dated October 17, 2022.

       16.     Attached as Exhibit 15 to the Appendix is a true and correct copy of Memorandum
                                                                                    Memorandum

Opinion and Order Denying “Amended         Motion to Recuse Pursuant to 28 U.S.C.
                          "Amended Renewed Motion                                  §455,”
                                                                           U.S. C. §455,"

Dkt. 3676 in Case No. 19-34054-sgj11, dated March 6, 2023.




Dated: July 10, 2023.
                                              Deborah Deitsch-Perez



                                 CERTIFICATE OF SERVICE


       I certify that on July 10, 2023, a true and correct copy of the foregoing document was

served via the Court’s
               Court's Electronic Case Filing system to the parties that are registered or

otherwise entitled to receive electronic notices in this proceeding.

                                                     /s/ Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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